                                                         Attachment No. 2


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                               CURRICULUM VITAE

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AREAS OF RESEARCH INTEREST:

        Forensic Economics
        Economic Forecasting
        Applied Econometrics


EDUCATION:

        Ph.D., Economics, Indiana University, 1986
        M.A., Economics, Indiana University, 1978
        B.A., Economics and Philosophy, Tulane University, 1974


EMPLOYMENT:

1988-
        President of Albrecht Economics

1990-1999
      Adjunct Associate Professor, Department of Economics, Wake Forest University




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1987-1989
      Assistant Professor, Department of Economics, Wake Forest University

1984-1987
      Director of Econometric Modeling and Research Scientist, Institute for Public
      Policy and Business Research, University of Kansas, Lawrence, Kansas. Main
      responsibility was the design and development of an econometric forecasting
      model for the state of Kansas. Other responsibilities included supervising impact
      studies, writing quarterly outlook monographs for publication in the Kansas
      Business Review, and, serving on the editorial board for the Review.

1978-1984
      Research Associate, Division of Research, School of Business, Indiana
      University, Bloomington, Indiana. Responsibilities included the development of
      and forecasting with state and sub-state econometric models, and, assistance in the
      generation of forecasts with a national econometric model.

1980-1981
      Lecturer, School of Business, Indiana University, Bloomington, Indiana

1976-1978
      Associate Instructor, Department of Economics, Indiana University, Bloomington,
      Indiana


SERVICE TO THE PROFESSION

2007-2010
      Vice President and Member of the Board of Directors, National Association of
      Forensic Economics

1999-2003
      CEO of Society of Litigation Economists, a not-for-profit organization dedicated
      to insuring high standards in the application of economic principles to valuations.
      The membership of the Society of Litigation Economists is limited to economists
      who have demonstrated a high level of expertise in forensic economics.

1991-Present
      Referee, Journal of Forensic Economics

1991-Present
      Referee, Journal of Legal Economics



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COURSES TAUGHT:

     Econometrics
     Economic Forecasting
     Introductory Economics
     Regional Economics
     Statistics
     Microeconomics


PUBLICATIONS:


     “The U.S. Approach to Computing Economic Damages Due to Personal Injury
     and Wrongful Death,” (with Kurt V. Krueger) in Personal Injury and Wrongful
     Death Damages Calculations: Transatlantic Dialogue, John O. Ward and Robert
     J. Thornton, ed., Emerald Books, 2009, pp. 193-232.

     “The Present Value of Lost Financial Support Due to Wrongful Death,” (with
     Kurt V. Krueger) Journal of Legal Economics, Vol. XV, No. 1, August 2008, pp.
     35-42.

     “A Review of the Economic Foundations of Earnings and Discounting Theories
     Used in Forensic Economics,” (with Kurt V. Krueger) The Earnings Analyst,
     Volume IX , Spring 2007, pp. 1-34.

     "Assessing Economic Damages in Personal Injury and Wrongful Death Litigation:
     The State of North Carolina," (with George A. Schieren) Journal of Forensic
     Economics, Vol. XIX, No. 1, Winter 2006, pp. 89-101.

     "Introduction to the Whole-time Concept," (with Kurt V. Krueger and John O.
     Ward) Journal of Forensic Economics, Vol. XIV, No. 1, Winter 2001, pp. 3-8.

     "It's About Time: The Forensic Economic Evaluation," (with Kurt V. Krueger and
     John O. Ward) Journal of Forensic Economics, Vol. XI, No. 3, Fall 1998, pp.
     203-213.

     "Risk and Damage Awards: Short-Term Bonds Vs. Long-Term Bonds," Journal
     of Legal Economics, Vol. 7, No.1, Spring/Summer 1997, pp. 48-54.

     "The Need to Use Risk-Free Discount Rates," Journal of Legal Economics, Vol.
     7, No.1, Spring/Summer 1997, pp. 92-95.

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     "Economic Valuation of Life: A Cumulative Approach," in The New Hedonics
     Primer for Economists and Attorneys, 2nd Edition, John O. Ward, ed., Tucson,
     Arizona; Lawyers & Judges Publishing Co. 1996, pp. 171-175.

     Journal of Forensic Economics, Volume VII, No. 3, Gary R. Albrecht, editor.
     Includes "Modeling Taxes in Personal Injury and Wrongful Death Award
     Calculations," pp. 1-4.

     "The Application of the Hedonic Damages Concept to Wrongful Death and
     Personal Injury Litigation," Journal of Forensic Economics, Volume VII, No. 2,
     Spring/Summer 1994, pp. 143-150.

     "Compensatory Damages and the Appropriate Discount Rate: Comment," Journal
     of Forensic Economics, Volume VI, No. 3, Fall 1993, pp. 271-272.

     "The Role of Productivity and Prices in Forecasting Wage Rates," (with Kurt V.
     Krueger) Journal of Forensic Economics, Volume V, No. 3, Fall 1992, pp. 187-
     195.

     "Issues Affecting the Calculated Value of Life," Journal of Forensic Economics,
     Volume V, No. 2, Spring/Summer 1992, pp. 97-104, and in A Hedonics Primer
     for Economists and Attorneys, John O. Ward, ed., Tucson, Arizona; Lawyers &
     Judges Publishing Co. 1992, pp. 197-205.

     "Calculating the Value of a Closely Held Firm," Journal of Legal Economics,
     Volume 1, No. 3, December 1991, pp. 1-4.

     "Calculating the Lost Pleasure of Life Due to Injury," TrialBriefs, Volume 23, No.
     3, Third Quarter, 1991, pp. 16-17.

     "Forecasting the Earnings of a Partially Disabled Individual," Journal of Legal
     Economics, Volume 1, No. 2, July 1991, pp. 50-57.

     "The Valuation of a Closely Held Firm," Trial Briefs, Volume 22, No. 4, Fourth
     Quarter, 1990, pp. 37-39.

     "The Valuation of a Closely Held Firm: Comment," Journal of Forensic
     Economics, Volume 3, No. 1, December, 1989, pp. 65-68.

     "On the Derivation and Consistent Use of Growth and Discount Rates for Future
     Earnings," (with John C. Moorhouse), Journal of Forensic Economics, Volume 2,
     No. 3, August, 1989, pp. 95-102.


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     "The Kansas Economy," (with Anthony Redwood), in H. Flentje ed., Kansas
     Policy Choices, Lawrence, Kansas: University of Kansas Press, 1986.

     "An Economic Perspective of Rate Suppression Legislation," (with Douglas
     Houston and Anthony Redwood), Kansas Law Review, Volume 33, No. 3, 1985.

     "Kansas Exports and Economic Development," (with Shirley Sicilian and Kurt
     Krueger), Kansas Business Review, Fall, 1985.

     "The Kansas Econometric Forecasting Model," Kansas Business Review, Fall,
     1985.

     "Long-Term Structural Changes in the Kansas Economy," (with Anthony
     Redwood and Daniel Petree), Kansas Business Review, Winter, 1984-1985.

     "An Introduction to the Econometric Model of Indiana," (with R. L. Pfister),
     Indiana Business Review, February, 1981.

     "Testing for Causality in Regional Econometric Models," (with R. Jeffery Green),
     International Regional Science Review, Winter, 1979.


ACADEMIC PAPER PRESENTATIONS:

     “Scheduled Economic Damages and Tort Reform in the United States,” (with
     John O. Ward and Kurt V. Krueger) Allied Social Science Association Annual
     Meetings: National Association of Forensic Economics National Meetings.
     Chicago, IL, January 2007.

     "Scheduled Damages and Tort Reform: An International Analysis and a Proposal
     for Consideration in the United States," (with Kurt V. Krueger and John O. Ward)
     NAFE 2006 International Meetings. Florence, Italy, May 2006.

     "Assessing Economic Damages in Personal Injury and Wrongful Death Litigation:
     The State of North Carolina," (with George A. Schieren) Annual Meeting:
     Western Economic International Association. San Francisco, CA, July 2005.

     "A Primer on Earnings Growth and Discounting," (with Kurt V. Krueger) Annual
     Meeting: Southern Economic Association. New Orleans, LA, November 2004.

     "Eunomic Damage Analysis," (with Kurt V. Krueger and John O. Ward)
     American Social Science Association Annual Meeting: American Economic
     Association Annual Meeting. Atlanta, GA, January 2002.


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     "Estimating Economic Damages as a Result of Diminished Productivity in Work
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     Economic Association Annual Conference, San Diego, CA, July 1977.

     "The Objective Science of Forensic Economics," presented at the Sixty-Eighth
     Annual Western Economic Association Conference, Lake Tahoe, June 22, 1993.

     "Proof that Saving with Short-Term Bonds Minimizes Purchasing Power
     Fluctuation Risk," presented at the American Economic Association Conference,
     New Orleans, January 4, 1992.

     "Income Taxes and Economic Loss Calculations," (with Kurt V. Krueger)
     presented at the Sixty-Sixth Annual Western Economic Association Conference,
     Seattle, June 30, 1991.

     "The Adequacy of Proxy Variables in Forecasting Wage Rates," presented at the
     Sixty-Fifth Annual Western Economic Association Conference, San Diego, June
     30, 1990.

     "A Short-Run Employment Function When Adjustment Costs are Linear,"
     presented at the Sixty-First Annual Western Economic Association Conference,
     San Francisco, July, 1986.

     "Choosing Among Forecasted National Variables for Use as Inputs Into Regional
     Forecasting Models," (with R. Jeffery Green), presented at the Twenty-Seventh
     Annual Mountain-Plains Economic Conference, 1985.


WORKING PAPER:

     "The Kansas Econometric Model," Institute for Public Policy and Business
     Research, The University of Kansas, July, 1987.


AFFILIATIONS:

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     American Economic Association
     National Association of Forensic Economics



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